 

Case 2:04-cr-01189-CAS Document 218 Filed 08/24/20 Page 1 of 3 |Page ID #:£00&D
CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

United States District Court August 24, 2020
Central District of California
CENTRA TRICT OF CALIFORNIA
United States of America n CM) DEPUTY
Plaintiff ————
Case Number
CR-04-1189(A)-CAS
Vv.

Gabriel Gonzalez
Defendant, Pro Se

Motion to allow filing

Gabriel Gonzalez asks this honorable court to grant him latitude by accepting
this recently returned motion and to extend him a brief period in which to correct
any omissions or delays in recent filings.

For reasons unknown, Gonzalez has had several recent filings returned to him
as undeliverable to this court. Gonzalez has not had this problem before but wishes
to resubmit these entries so that the court has a complete record of the facts
and arguments presented in this matter. Gonzalez regrets this problem and apologizes
for this interruption.

Gonzalez prays this court grant him an opportunity to make his record whole,
to serve him with a recent copy of his docket sheet as it pertains to his compassionaie
release filing(s), and allow him to resend his documents to the court's E. Temple
address since it appears all mail sent during July and August 2020 has been delayed,
returned, or lost.

Verification

Gonzalez certifies the foregoing to be true and correct. Executed at Forrest
City, Arkansas on this 19th day of August, 2020.

  
 
   

Gabriel Gonzate
Certificate of Service

I certify this Motion to allow filing was placed in the prison's internal
mail system on 8/19/20 for delivery to this court at 255 E. Temple st. room 180
Los Angeles, California 90012. Gonzalez asks all interested parties be served
by electronic notification and that he be given a stamped filed copy pf thiisoa
and a docket sheet as described above. ee

 
 
  

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